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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK

DEBORAH BOSSO, on behalf of herself                  Civil Action No.: 1:21-cv-1239
and all others similarly situated,

                      Plaintiff,                     CLASS ACTION COMPLAINT

vs.
                                                     JURY TRIAL DEMANDED
THE J. M. SMUCKER COMPANY and THE
FOLGER COFFEE COMPANY,

                    Defendants.


         Plaintiff Deborah Bosso (“Plaintiff”), on behalf of herself and all others similarly

situated, brings this class action against The J. M. Smucker Company and The Folger Coffee

Company (collectively, “Defendants”), based on Defendants’ false and deceptive labeling and

advertising of their Folgers ground coffee products (hereinafter collectively referred to as the

“Products”). 1 Plaintiff makes the following allegations based on the investigation of her counsel

and on information and belief, except as to allegations pertaining to Plaintiff individually, which

are based on her personal knowledge.

                                         INTRODUCTION

         1.      This case involves a straightforward and systematic course of false, misleading,

and unlawful conduct: Defendants have grossly misrepresented the number of cups of coffee that

the Products can make.

         2.      Throughout the statute of limitations period, Defendants have sold the Products to

consumers based on the representation that they contain enough ground coffee to make up to a

specific number of servings (e.g., “240 6 fl oz cups”). However, by following Defendants’ own



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    “Products” are further defined infra in Paragraphs 14-15.
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definitions and instructions, the Products do not contain enough ground coffee to make the

number of servings represented or even close to it.

         3.      Indeed, it is a classic and unlawful bait-and-switch scheme that causes

unsuspecting consumers to spend more money for less than the advertised amount of coffee they

believe they are purchasing.

         4.      Plaintiff and other consumers purchased the Products because they reasonably

believed – based on Defendants’ representations – that these Products contained enough coffee

to make the specified number of servings. Had Plaintiff and other consumers known the truth

(i.e., that the Products do not contain enough coffee to make the specified number of servings),

they would have paid less for them, or would not have purchased them at all. As a result,

Plaintiff and other consumers have been deceived and have suffered economic injury.

         5.      Plaintiff seeks relief in this action individually, and on behalf of all other similarly

situated individuals who purchased Defendants’ falsely and deceptively labeled Products during

the statute of limitations period.

                                     JURISDICTION AND VENUE

         6.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness

Act of 2005, 28 U.S.C. § 1332(d)(2), because this is a class action filed under Rule 23 of the

Federal Rules of Civil Procedure, there are thousands of proposed Class 2 members, the aggregate

amount in controversy exceeds $5,000,000 exclusive of interest and costs, and Defendants are

citizens of a state different from at least some members of the proposed Classes, including

Plaintiff.




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    “Class” is defined infra in Paragraph 41.




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        7.      This Court has personal jurisdiction over Defendants because Defendants have

sufficient minimum contacts with the State of New York, and/or otherwise intentionally avails

itself of the markets in the State of New York through the promotion, marketing, and sale of their

Products in this State to render the exercise of jurisdiction by this Court permissible under

traditional notions of fair play and substantial justice.

        8.      Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in this

District. Plaintiff resides in this District and purchased the Products in this District.

                                              PARTIES

        9.      Plaintiff Deborah Bosso is a citizen of the United States and the State of New

York and she currently resides in Niagara County, New York. In or around May 2018, Plaintiff

purchased the Folgers Breakfast Blend, 38.5 oz. product from a Walmart in Niagara County,

New York, for her own personal use. In purchasing the Product, Plaintiff saw and relied on

Defendants’ representations made on the packaging. Specifically, Plaintiff reasonably believed

that the Products contained enough ground coffee to make 315 cups or servings because she saw

the representation “MAKES UP TO 315 6 FL OZ CUPS” prominently printed on the front of the

canister. Plaintiff’s reasonable belief that the Product she purchased could make the represented

number of servings was an important factor in her decision to purchase the Product. Plaintiff

would have paid significantly less for the Product had she known that the Product did not contain

enough ground coffee to make the represented number of cups of coffee. Therefore, Plaintiff

suffered injury in fact and lost money as a result of Defendants’ misleading, false, unfair, and

deceptive practices, as described herein.

        10.     Despite being misled by Defendants with respect to the Folgers ground coffee

products she purchased, Plaintiff lacks personal knowledge as to Defendants’ specific business



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practices. Consequently, there is still doubt in her mind as to the possibility that some of the

Products could contain enough coffee to make the advertised number of servings. For example,

because there are many Folgers Products involved in Defendants’ deceit, and due to the

likelihood that Defendants may yet develop and market additional coffee products that

misrepresent the serving yield, Plaintiff may again purchase a falsely-advertised ground coffee

products from Defendants under the mistaken impression that the represented number of servings

is accurate. Moreover, without scooping out every grain of ground coffee in the Products,

Plaintiff would have no way of determining whether the servings representations on the front

labeling are accurate. Also, Class members will continue to purchase the Products, reasonably

but incorrectly believing that they contain enough coffee to make the advertised number of

servings.

       11.     Plaintiff is also susceptible to reoccurring harm in that she desires to continue to

purchase the Products but cannot be certain Defendants have corrected their deceptive and false

advertising scheme. Indeed, Plaintiff regularly shops at stores where the Products are sold, and

they would like to continue purchasing the Products. However, she currently cannot trust that

Defendants will label and/or advertise the Products she purchased in the past truthfully and in

compliance with applicable law.

       12.     The J. M. Smucker Company is a corporation organized and existing under the

laws of the state of Ohio, with its headquarters and principal place of business at One Strawberry

Lane, Orrville, OH 44667. The J. M. Smucker Company is one of the world’s biggest consumer

packaged goods companies and it owns the Folgers brand.

       13.     The Folger Coffee Company is a corporation organized and existing under the

laws of the state of Ohio, with its headquarters and principal place of business at One Strawberry




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Lane, Orrville, OH 44667. Folgers has a rich history dating back to 1850 and is arguably the

most well-known coffee maker in the United States. The coffee giant excels in offering a wide

range of products to customers, including varying flavors, roasts and strength of coffee.

Beginning in 1850 in San Francisco, Folgers is now a household name recognized and sold

around the world. Since the early 1990s, it has been the largest-selling ground coffee provider in

the United States. In the 1980s, Folgers’ slogan “The best part of waking up is Folgers in your

cup!” and the well-associated jingle became recognizable in households across the country,

along with the Folgers name. Folgers generates millions of dollars in sales each year, a

significant portion of which is derived from sales of the Products. In 2008, Folgers was acquired

by The J. M. Smucker Company from Procter & Gamble for a reported $3 billion.

                                   FACTUAL ALLEGATIONS

A.     The Folgers Ground Coffee Products At Issue

       14.       The Products at issue in this case consist of all varieties (e.g., different types of

roasts) and sizes (e.g., 20 oz., 30.5 oz., etc.) of Folgers ground coffee canisters.

       15.       These Products include but are not limited to the following varieties of Folgers

ground coffee canisters: Classic Roast, Classic Roast Decaf, ½ Caff, CoffeeHouse Blend,

Country Roast, Simply Smooth, Simply Smooth Decaf, 100% Colombian, Black Silk, Black Silk

Decaf, Brazilian Blend, Breakfast Blend, French Roast, Gourmet Supreme, House Blend, and

Special Roast.

       16.       The Products are sold across the United States, including in New York, through

third party retailers including grocery chains and large retail outlets.

B.     Defendants Grossly Overstate The Number of Servings The Products Can Make

       17.       Defendants represent on the packaging of each of the Products that they contain

enough ground coffee to make up to a specified number of servings. For example, Defendants




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prominently state on the front canister of the 30.5 oz. canister of Folgers Classic Roast Coffee:

“MAKES UP TO 240 6 FL OZ CUPS.”

       18.     Representative images of the front of the canisters of some of the Products are

depicted below:




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       19.     Defendants place a materially identical representation on the front label of all the

Products, although the number of represented servings of course varies based on the size of the

Product.

       20.     On the back of all the Products, Defendants instruct consumers that they should

use one tablespoon of ground coffee to make one serving (one 6 fl oz cup) of coffee. 3

       21.     One tablespoon of ground coffee weighs approximately 5 grams.

       22.     Based on these standard measurements, it is evident that Defendants grossly

overstate the number of servings the Products can make.

       23.     By way of example, Defendants represent on the 30.5 oz. canister of the Folgers

Classic Roast that it “MAKES UP TO 240 6 FL OZ CUPS.”

       24.     As set forth above, one tablespoon of ground coffee is needed to make 1 serving.

Therefore, 240 tablespoons of ground coffee are needed to make 240 servings.

       25.     As set forth above, one tablespoon of ground coffee = approximately 5 grams.

Therefore, 1200 grams of ground coffee is needed to make 240 servings [240 tablespoons x 5

grams].

       26.     However, the 30.5 oz. canister has a net weight of 865 grams. Therefore, it

contains only 72% of the amount of ground coffee required to make up to 240 cups of coffee

[865 / 1200 x 100%]. This is equivalent to approximately 173 cups of coffee.

       27.     The same shortfall (i.e., only 173 cups of coffee) is calculated by dividing the

total grams of coffee in the 30.5 oz. cannister by the number of grams required to make a single

serving [865 grams / 5 grams].



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 Hereinafter, the term “cup” is synonymous, and used interchangeably with, the term “serving”
and is equivalent to 6 fluid ounces, based on Defendants’ representations.




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       28.    In sum, the 30.5 oz. canister only contains enough coffee to make 173 cups,

which is equivalent to 72% of the amount of ground coffee that is required to make the 240 cups

of coffee:

              •      865 grams / 1200 grams = 72%

              •      173 cups / 240 cups = 72%

       29.    Thus, it is impossible for the Product to contain enough ground coffee to make

anywhere close to “240 6 fl oz cups” of coffee, as promised by Defendants. Defendants’

representation that the 30.5 oz. canister “MAKES UP TO 240 6 FL OZ CUPS” is therefore false,

deceptive, and misleading.

       30.    The same calculations apply equally to all of the other Products. According to

their net weight, as well as the weight per tablespoon of ground coffee, they are unable to make

anywhere close to the represented number of cups. These calculations are set forth in the

following chart:

    Product Name           Net Weight     Number of        Approximate         Approximate
                                           “Up To”          Number of          Percentage of
                                           Servings          Servings            Servings
                                          Promised           Received            Received
     Classic Roast           11.3 oz.             90             64                71.1%
     Classic Roast           22.6 oz.            180            128                71.1%
     Classic Roast           30.5 oz.            240            173                72.0%
     Classic Roast           38.4 oz.            305            216                70.8%
     Classic Roast            48 oz.             380            272                71.6%
     Classic Roast            51 oz.             400            288                 72%
     Classic Decaf           11.3 oz.             90             64                71.1%
     Classic Decaf           22.6 oz.            180            128                71.1%
     Classic Decaf           30.5 oz.            240            173                72.0%
     Classic Decaf           33.9 oz.            270           192.2               71.2%
       1/2 Caff              10.8 oz.             90            61.2                68%
       1/2 Caff              25.4 oz.            210            144                68.6%




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 CoffeeHouse Blend        10.8 oz.           90                61.2               68%
 CoffeeHouse Blend        25.4 oz.          210                144               68.6%
   Country Roast          25.1 oz.          240               142.2              59.3%
   Country Roast          31.1 oz.          240               176.4              73.5%
   Simply Smooth          11.5 oz.           90                65.2              72.4%
   Simply Smooth           23 oz.           180               130.4              72.4%
   Simply Smooth          31.1 oz.          240               176.4              73.5%
   Simply Smooth          34.5 oz.          270               195.6              72.4%
Simply Smooth Decaf       11.5 oz.           90                65.2              72.4%
Simply Smooth Decaf        23 oz.           180               130.4              72.4%
  100% Colombian          10.3 oz.           90                58.4              64.9%
  100% Colombian          24.2 oz.          210               137.2              65.3%
     Black Silk           10.3 oz.           90                58.4              64.9%
     Black Silk           24.2 oz.          210               137.2              65.3%
  Black Silk Decaf        10.3 oz.           90                58.4              64.9%
  Black Silk Decaf        20.6 oz.          180               116.8              64.9%
   Brazilian Blend        10.3 oz.           90                58.4              64.9%
   Brazilian Blend        24.2 oz.          210               137.2              65.3%
   Breakfast Blend        10.8 oz.           90                61.2               68%
   Breakfast Blend        25.4 oz.          210                144               68.6%
   Breakfast Blend        38.5 oz.          315                218               69.2%
    French Roast          10.3 oz.           90                58.4              64.9%
    French Roast          24.2 oz.          210               137.2              65.3%
  Gourmet Supreme         10.3 oz.           90                58.4              64.9%
  Gourmet Supreme         24.2 oz.          210               137.2              65.3%
  Gourmet Supreme          27.8oz           240               157.8              65.7%
    House Blend           10.3 oz.           90                58.4              64.9%
    House Blend           24.2 oz.          210               137.2              65.3%
    Special Roast         10.3 oz.           90                58.4              64.9%
    Special Roast         24.2 oz.          210               137.2              65.3%


       31.    There are 42 varieties of the Products listed in the chart above. Each and every

one of them contains substantially less ground coffee than is required to make the recommended

number of “up to” servings promised on the packaging. On average, these Products contain




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enough ground coffee to make only 68.29% of the number of servings promised on the

packaging, thus revealing a systematic course of unlawful conduct by Defendants to deceive and

shortchange consumers.

C.     The False and Deceptive Serving Amount Representations Harm Consumers

       32.     Plaintiff and other consumers purchased the Products relying on Defendants’

serving amount representations on the Products’ packaging.

       33.     Plaintiff and other consumers reasonably expect that, if they follow the serving

instructions, the Products will produce the number of servings/cups of coffee as represented on

the Products’ packaging.

       34.     Plaintiff’s and consumers’ reasonable belief that the Products are able to make up

to the represented number of cups of coffee was a significant factor in each of their decisions to

purchase the Products.

       35.     Plaintiff and Class members did not know, and had no reason to know, that the

Products’ labeling vastly overstates the number of cups of coffee they are able to make. At the

time of purchase, a reasonable consumer cannot measure or calculate how many servings the

Products can make. Nor are reasonable consumers expected to keep track of the precise number

of cups of coffee they make over a period of time.

       36.     As the entity responsible for the development, manufacturing, packaging,

advertising, distribution and sale of the Products, Defendants knew or should have known that

each of the Products falsely and deceptively overstates the number of servings of coffee that can

be made.

       37.     Defendants also knew or should have known that Plaintiff and other consumers,

in purchasing the Products, would rely on Defendants’ serving size representations. Nonetheless,

Defendants deceptively advertise the Products in order to deceive consumers into believing they



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are getting considerably more coffee than they are paying for.

       38.     Consumers are willing to pay more for the Products based on the belief that the

Products contain enough ground coffee to make up to the represented number of servings.

Plaintiff and other consumers would have paid significantly less for the Products, or would not

have purchased them at all, had they known that they were getting fewer servings of coffee than

what they were promised.

       39.     By analogy, if a consumer purchased a six-pack of soda, but only received four

cans of soda, the consumer would only be receiving 66.67% of what she paid for. The situation

here is no different in terms of the harm to the consumer. The only difference is that, due to the

nature of the Products, Defendants are able to conceal the gross shortfall of coffee because

reasonable consumers do not keep track of the number of cups of coffee they make over a period

of time.

       40.     Therefore, Plaintiff and other consumers purchasing the Products have suffered

injury in fact and lost money as a result of Defendants’ false and deceptive practices, as

described herein.

                              CLASS ACTION ALLEGATIONS

       41.     Plaintiff brings this class action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, individually and on behalf of all members of the following Classes:

       Nationwide Class:

       All persons who purchased any of the Products in the United States for personal, family,
       or household purposes, within the applicable statute-of-limitations period.

       New York Class:

       All persons who, within the relevant statute of limitations period, purchased any of the
       Products for personal, family, or household purposes in the state of New York.




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       42.     Excluded from the Classes are the following individuals and/or entities:

Defendants and its parents, subsidiaries, affiliates, officers and directors, current or former

employees, and any entity in which Defendants have a controlling interest; all individuals who

make a timely election to be excluded from this proceeding using the correct protocol for opting

out; and all judges assigned to hear any aspect of this litigation, as well as their immediate family

members.

       43.     Plaintiff reserves the right to modify or amend the definition of the proposed

Classes after having had an opportunity to conduct discovery.

       44.     Numerosity: The proposed Classes are so numerous that joinder of all members

would be impractical. The Products are sold throughout New York and the United States

generally, by third-party retailers. The number of individuals who purchased the Products in

New York and the United States during relevant time period is at least in the thousands.

Accordingly, Class members are so numerous that their individual joinder herein is impractical.

While the precise number of Class members and their identities are unknown to Plaintiff at this

time, these Class members are identifiable and ascertainable.

       45.     Common Questions Predominate: There are questions of law and fact common to

the proposed Classes that will drive the resolution of this action and will predominate over

questions affecting only individual Class members. These questions include, but are not limited

to, the following:

               a. Whether Defendants misrepresented material facts and/or failed to disclose

                     material facts in connection with the packaging, marketing, distribution, and

                     sale of the Products;

               b. Whether Defendants’ use of false or deceptive packaging and advertising




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                  constituted false or deceptive advertising;

              c. Whether Defendants engaged in unfair, unlawful and/or fraudulent business

                  practices;

              d. Whether Defendants’ conduct violated the numerous state consumer

                  protection statutes alleged herein;

              e. Whether Defendants’ unlawful conduct, as alleged herein, was intentional and

                  knowing;

              f. Whether Plaintiff and the Classes are entitled to damages and/or restitution,

                  and in what amount;

              g. Whether Defendants are likely to continue using false, misleading or unlawful

                  conduct such that an injunction is necessary; and

              h. Whether Plaintiff and the Classes are entitled to an award of reasonable

                  attorneys’ fees, interest, and costs of suit.

       46.    Defendants have engaged in a common course of conduct giving rise to violations

of the legal rights sought to be enforced uniformly by Plaintiff and Class members. Similar or

identical statutory and common law violations, business practices, and injuries are involved. The

injuries sustained by members of the proposed Classes flow, in each instance, from a common

nucleus of operative fact, namely, Defendants’ deceptive packaging and advertising of the

Products. Each instance of harm suffered by Plaintiff and Class members has directly resulted

from a single course of illegal conduct.        Therefore, individual questions, if any, pale in

comparison to the numerous common questions presented in this action.

       47.    Superiority: Because of the relatively small size of the individual Class members’

claims, no Class member could afford to seek legal redress on an individual basis. Furthermore,




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individualized litigation increases the delay and expense to all parties and multiplies the burden

on the judicial system presented by the complex legal and factual issues of this case.

Individualized litigation also presents a potential for inconsistent or contradictory judgments. A

class action is superior to any alternative means of prosecution.

       48.      Typicality: The representative Plaintiff’s claims are typical of those of the

proposed Classes, as all members of the proposed Classes are similarly affected by Defendants’

uniform unlawful conduct as alleged herein.

       49.      Adequacy: Plaintiff will fairly and adequately protect the interests of the proposed

Classes as her interests do not conflict with the interests of the members of the proposed Classes

she seeks to represent, and she has retained counsel competent and experienced in class action

litigation. The interests of the members of the Classes will be fairly and adequately protected by

the Plaintiff and her counsel.

       50.      This lawsuit is maintainable as a class action under Federal Rule of Civil

Procedure 23 because Defendant acted, or failed to act, on grounds generally applicable to

Plaintiff and the proposed Classes, supporting the imposition of uniform relief to ensure

compatible standards of conduct toward the members of the Classes.

                                 FIRST CLAIM FOR RELIEF
                             Violation of N.Y. Gen. Bus. Law § 349
                                    (for the New York Class)

       51.      Plaintiff repeats the allegations contained in paragraphs 1-50 above as if fully set

forth herein.

       52.      Plaintiff brings this claim on behalf of herself and on behalf of the members of the

New York Class.

       53.      New York General Business Law (“GBL”) § 349 declares unlawful “[d]eceptive

acts or practices in the conduct of any business, trade or commerce . . .” GBL § 349(a).



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       54.      The practices alleged herein namely, deceiving consumers into believing that the

Products contain enough ground coffee to make substantially more servings than they can

actually make – are unfair, deceptive, and misleading, in violation of GBL § 349.

       55.      The foregoing deceptive acts and practices were directed at Plaintiff and members

of the New York Class.

       56.      Defendants’ misrepresentation regarding the Products is material to a reasonable

consumer because it relates to the amount of product the consumer is receiving and paying for. A

reasonable consumer attaches importance to such representation and is induced to act thereon in

making purchase decisions.

       57.      Plaintiff and members of the New York Class have been injured as a direct and

proximate result of Defendants’ violations described above as they would have paid significantly

less for the Products, had they known that they do not contain enough ground coffee to make the

represented number of servings.

       58.      As a result of Defendants’ unlawful action, Plaintiff and members of the New

York Class seek to enjoin Defendants’ deceptive and unlawful acts and practices described

herein, to recover actual damages, fifty dollars (or both), whichever is greater, as well as treble

damages, reasonable attorneys’ fees, and all other remedies this Court deems proper.

                               SECOND CLAIM FOR RELIEF
                             Violation of N.Y. Gen. Bus. Law § 350
                                    (for the New York Class)

       59.      Plaintiff repeats the allegations contained in paragraphs 1-50 above as if fully set

forth herein.

       60.      Plaintiff brings this claim on behalf of herself and on behalf of the members of the

New York Class.

       61.      GBL § 350 provides in relevant part: “False advertising in the conduct of any



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business, trade or commerce . . . in this state is hereby declared unlawful.”

       62.     In turn, GBL § 350-a defines false advertising as:

       “[a]dvertising, including labeling, of a commodity . . . if such advertising is misleading in
       a material respect. In determining whether any advertising is misleading, there shall be
       taken into account (among other things) not only representations made by statement,
       word, design, device, sound or any combination thereof, but also the extent to which the
       advertising fails to reveal facts material in the light of such representations with respect to
       the commodity . . . to which the advertising relates under the conditions proscribed in
       said advertisement, or under such conditions as are customary or usual.”

       63.     Defendants’ actions are untrue and misleading through their deceptive packaging

of the Products, which represent that the Products contain enough ground coffee to make

substantially more servings than they can actually make.

       64.     The foregoing misleading acts and practices were directed at Plaintiff and

members of the New York Class.

       65.     Defendants’ misrepresentations regarding the Products are material to a

reasonable consumer because they relate to the contents of the Products (i.e., the amount of

coffee available) purchased by the consumer. A reasonable consumer attaches importance to

such representations and is induced to act thereon in making purchase decisions.

       66.     The foregoing misrepresentations have resulted in consumer injury or harm to the

New York public.

       67.     Plaintiff and members of the New York Class have been injured as a direct and

proximate result of Defendants’ violations described above, as they would not have purchased

the Products, or would have paid significantly less for them, had they known that the Products

are unable to make the number of servings as represented on the Products’ front label.

       68.     As a result of Defendants’ unlawful action, Plaintiff and members of the New

York Class seek to enjoin Defendants’ misleading and unlawful acts and practices described




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herein, to recover actual damages or five hundred dollars per violation, whichever is greater (or

both), as well as treble damages, reasonable attorneys’ fees, and all other remedies this Court

deems proper.

                                THIRD CLAIM FOR RELIEF
                            Breach of New York Express Warranty
                                     N.Y. U.C.C. § 2-313
                                   (for the New York Class)

       69.      Plaintiff repeats the allegations contained in paragraphs 1-50 above as if fully set

forth herein.

       70.      Plaintiff brings this claim individually and on behalf of the members of the

proposed New York Class who purchased the Products.

       71.      New York U.C.C. § 2-313 provides that “(a) Any affirmation of fact or promise

made by the seller to the buyer which relates to the goods and becomes part of the basis of the

bargain creates an express warranty that the goods shall conform to the affirmation or promise,”

and “(b) Any description of the goods which is made part of the basis of the bargain creates an

express warranty that the goods shall conform to the description.” N.Y. U.C.C. § 2-313.

       72.      Plaintiff and the members of the New York Class formed a contract with

Defendants at the time they purchased the Product. As part of that contract, Defendants have

expressly warranted on the Products’ packaging that they can make up to a specific number of

servings. For example, Defendants expressly state on the packaging of the 30.5 oz. canister that

it “MAKES UP TO 240 6 FL OZ CUPS.” However, as alleged herein, this express

representation is patently false, as the 30.5 oz. canister can only make up to 173 cups of coffee,

or only 72% of the amount of ground coffee promised by Defendants. All of the other varieties

of the Products contain materially identical express representations that are likewise false.

       73.      These representations about the Products: (a) are affirmations of fact or promises




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made by Defendants to consumers that the Products contain enough ground coffee to make a

specific number of servings; (b) became part of the basis of the bargain to purchase the Products

when Plaintiff and other consumers relied on the representation; and (c) created an express

warranty that the Products would conform to the affirmations of fact or promises. In the

alternative, the representations about the Products are descriptions of goods which were made as

part of the basis of the bargain to purchase the Products, and which created an express warranty

that the Products would conform to the product description.

       74.     Defendants made the serving representations to induce Plaintiff and members of

the New York Class to purchase the Products, and Plaintiff and members of the New York Class

relied on the representations in purchasing the Products.

       75.     Each such representation constitutes an express warranty and became part of the

basis of the bargain between Plaintiff and members of the New York Class, on the one hand, and

Defendants, on the other.

       76.     All conditions precedent to Defendants’ liability under the above-referenced

contract have been performed by Plaintiff and members of the New York Class.

       77.     Defendants breached the express warranties about the Products because, as

alleged above, the Products are not able to make the number of servings that are represented on

the Products’ labeling.

       78.     Plaintiff and members of the New York Class reasonably and justifiably relied on

the foregoing express warranties, believing that Products did in fact conform to the warranties.

       79.     Plaintiff and members of the New York Class paid a premium price for the

Products but did not obtain the full value of the Products as represented. If Plaintiff and members

of the New York Class had known of the true nature of the Products, they would not have




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purchased them or would have paid significantly less for them. Thus, as a result of Defendants’

breaches of express warranty, Plaintiff and members of the New York Class were damaged in the

amount of the premium price they paid for the Product, in amounts to be proven at trial.

       80.      As a result of Defendants’ breach of express warranties, Plaintiff and members of

the New York Class suffered injury and deserve to recover all damages afforded under the law.

       81.      On May 7, 2020, Plaintiff’s counsel sent Defendant J.M. Smucker a letter by

certified mail, noticing Defendant of its breach of express warranty.

                              FOURTH CLAIM FOR RELIEF
                            Breach of New York Implied Warranty
                                     N.Y. U.C.C. § 2-314
                                   (for the New York Class)

       82.      Plaintiff repeats the allegations contained in paragraphs 1-50 above as if fully set

forth herein.

       83.      Plaintiff brings this claim individually and on behalf of the members of the

proposed New York Class who purchased the Products.

       84.      New York U.C.C. § 2-314 provides that “a warranty that the goods shall be

merchantable is implied in a contract for their sale if the seller is a merchant with respect to

goods of that kind.” New York U.C.C. § 2-314(1).

       85.      New York U.C.C. § 2-314(2) provides that “[g]oods to be merchantable must be

at least such as . . . (f) conform to the promises or affirmations of fact made on the container or

label if any.” New York U.C.C. § 2-314(2)(f).

       86.      Defendants are merchants with respect to the sale of the Products here.

Therefore, a warranty of merchantability is implied in every contract for sale of the Products to

New York consumers.




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       87.      By advertising the Products with their current packaging, Defendants made an

implied promise that the Products contain enough ground coffee to make up to a specific number

of servings. The Products have not “conformed to the promises…made on the container or label”

because they do not contain enough ground coffee to make up to the specified number of

servings. Plaintiff and other members of the proposed New York Class did not receive the goods

as impliedly warranted by Defendants to be merchantable.

       88.      Therefore, the Products are not merchantable under New York law and Defendant

has breached its implied warranty of merchantability in regard to the Products.

       89.      If Plaintiff and members of the New York Class had known that the Products

could not make as many servings of coffee as represented, they would not have been willing to

pay the premium price associated with them. Therefore, as a direct and/or indirect result of

Defendants’ breach, Plaintiff and members of the New York Class have suffered injury and

deserve to recover all damages afforded under the law.

       90.      On May 7, 2020, Plaintiff’s counsel sent Defendant J.M. Smucker a letter by

certified mail, noticing Defendant of its breach of implied warranty.

                                 FIFTH CLAIM FOR RELIEF
                                     Common Law Fraud
                                       (for the Classes)

       91.      Plaintiff repeats the allegations contained in paragraphs 1-50 above as if fully set

forth herein.

       92.      Plaintiff brings this claim individually and on behalf of the members of the

proposed Nationwide Class. Alternatively, Plaintiff brings this claim individually and on behalf

of the members of the proposed New York Class.

       93.      Defendants marketed the Products in a manner indicating that they contain

enough ground coffee to make up to a specific number of servings. However, the Products



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cannot make anywhere close to the represented number of servings. Therefore, Defendants have

made misrepresentations about the Products.

        94.        Defendants’ misrepresentations regarding the Products are material to a

reasonable consumer because they relate to the amount of product the consumer is receiving and

paying for. A reasonable consumer would attach importance to such representations and would

be induced to act thereon in making purchase decisions.

        95.        At all relevant times when such misrepresentations were made, Defendants knew

that the representations were misleading, or have acted recklessly in making the representations,

without regard to the truth.

        96.        Defendants intend that Plaintiff and other consumers rely on these

representations, as evidenced by the intentional and conspicuous placement of the misleading

representations on the Products’ packaging by Defendants.

        97.        Plaintiff and members of the Classes have reasonably and justifiably relied on

Defendants’ intentional misrepresentations when purchasing the Products, and had the correct

facts been known, would not have purchased them at the prices at which they were offered.

        98.        Therefore, as a direct and proximate result of Defendants’ intentional

misrepresentations, Plaintiff and members of the Classes have suffered economic losses and

other general and specific damages, including but not limited to the amounts paid for the

Products, and any interest that would have accrued on those monies, all in an amount to be

proven at trial.

                                   SIXTH CLAIM FOR RELIEF
                            Quasi Contract/Unjust Enrichment/Restitution
                                          (for the Classes)

        99.        Plaintiff re-alleges and incorporates Paragraphs 1-50 as if fully set forth herein.

        100.       Plaintiff brings this claim individually and on behalf of the members of the



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proposed Nationwide Class. Alternatively, Plaintiff brings this claim individually and on behalf

of the members of the proposed New York Class.

       101.    As alleged herein, Defendants have intentionally and recklessly made misleading

representations to Plaintiff and members of the Classes to induce them to purchase the Products.

Plaintiff and members of the Classes have reasonably relied on the misleading representations

and have not received all of the benefits promised by Defendants. Plaintiff and members of the

Classes therefore have been induced by Defendants’ misleading and deceptive representations

about the Products, and paid more money to Defendants for the Products than they otherwise

would and/or should have paid.

       102.    Plaintiff and members of the Classes have conferred a benefit upon Defendants as

Defendants have retained monies paid to them by Plaintiff and members of the Classes.

       103.    The monies received were obtained under circumstances that were at the expense

of Plaintiff and members of the Classes – i.e., Plaintiff and members of the Classes did not

receive the full value of the benefit conferred upon Defendants.

       104.    Therefore, it is inequitable and unjust for Defendants to retain the profit, benefit,

or compensation conferred upon them without paying Plaintiff and the members of the Classes

back for the difference of the full value of the benefits compared to the value actually received.

       105.    As a direct and proximate result of Defendants’ unjust enrichment, Plaintiff and

members of the Classes are entitled to restitution, disgorgement, and/or the imposition of a

constructive trust upon all profits, benefits, and other compensation obtained by Defendants from

their deceptive, misleading, and unlawful conduct as alleged herein.




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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of the Classes, respectfully prays

for following relief:

        A.       Certification of this case as a class action on behalf of Classes defined above,

appointment of Plaintiff as Class representative, and appointment of her counsel as Class

counsel;

        B.       A declaration that Defendants’ actions, as described herein, violate the claims

described herein;

        C.       An award of injunctive and other equitable relief as is necessary to protect the

interests of Plaintiff and the Classes, including, inter alia, an order prohibiting Defendants from

engaging in the unlawful act described above;

        D.       An award to Plaintiff and the proposed Classes of restitution and/or other

equitable relief, including, without limitation, restitutionary disgorgement of all profits and

unjust enrichment that Defendants obtained from Plaintiff and the proposed Classes as a result of

its unlawful, unfair and fraudulent business practices described herein;

        E.       An award of all economic, monetary, actual, consequential, compensatory, and

treble damages caused by Defendants’ conduct;

        F.       An award of punitive damages;

        G.       An award to Plaintiff and her counsel of her reasonable expenses and attorneys’

fees;

        H.       An award to Plaintiff and the proposed Classes of pre and post-judgment interest,

to the extent allowable; and

        I.       For such further relief that the Court may deem just and proper.




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                                   DEMAND FOR JURY TRIAL

        Plaintiff, on behalf of herself and the proposed Classes, hereby demands a jury trial with

respect to all issues triable of right by jury.


DATED: November 23, 2021                          By: /s/ Innessa M. Huot

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